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March 3, 2023

RE: Todd Tilley

Dear Judge McFadden:

| write this letter on behalf of Todd Tilley, my dear friend, whom | have known for 7
years. We met through my oldest daughter, here in Maine, where we both.live. Todd is easy -
going, honest and hard working. He is a sincere person, very kind hearted. He helped me build
my house in Waterford from the ground up. We worked together on it, It was finished about a
year ago, except for some moulding.

’'m a big time political conservative, very religious and a supporter of President Trump.
Todd and | share the same political views. We watch the same conservative media sources.
We were both very disappointed in the outcome of the 2020 presidential election. We were
both hopeful that Congress would do the right thing.

When Todd discussed his decision to drive to Washington for the big rally, | chose to
stay home. | wasn’t feeling well, and | didn’t want to leave the house in the winter. He wanted
to go down, and to see all the speakers, including religious and political speakers he was fond
of. He was all excited about it, He had no intention to do anything disruptive, orto do anything
wrong. He js not violent. He was looking forward tothe trip,

Later, when | found out what happened, | told him if ] was there, | wouldn’t have gone
“in, and | wouldn’t have let him goin. | don’t like being around crowds, particularly if they are
violent or pushing. | know enough to stay away. | definitely wouldn't have let him go in.
Todd expressed remorse for his actions. He told me he shouldn’t have gone in.

| was also present when Todd suffered a stroke in January of 2022. We got up that
morning, and he kept going in and out of the house to his truck. | asked him what was up.
When he did speak, | couldn’t understand what he was saying. | thought he was playing around
with me, and | told him to cut it out. | had never witnessed a stroke before.

1 continued to talk to him and it was just blither blather. | started to become concerned
and called my daughter, who told me it sounded like a stroke, That got my attention. Iwas
concerned. [called Tammy, an RN who lives right down the road. She came right over, and we
took Todd to the hospital together.
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He was hospitalized for about a week here in Maine, and later in NY. His daughter came
up from NY and took him back there, to be evaluated by a neurologist. Even over a year later,
he’s not the same as he was. He gets tired real easy. He can only do so much. Sometime, he
has trouble formulating sentences. He has anxiety. | see it every day. He’s around me every
day.

He’s not able to work anymore, It’s a difficult adjustment, because he’s worked his
whole life. His.personal life is also affected. His daughter is getting married, and he’s not
invited to the wedding, mostly because of Jan 6. He’s got a lot omhis plate right now, and he’s
not in a good position to manage it because of his stroke.

| hope that you will show mercy to Todd. He deserves it, because he’s a good man. He
has always treated me well. He’s been supportive, helpful, and he’s gone above and beyond. —
He even helps the elderly. He’s helped my 85 year old. neighbor by working on his vehicle,
helping around the house, even volunteering to buy him a water pump for his well. Todd has a
good heart,

Thank you for your kind consideration.

Very truly yours,

Gail Sterry

  
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March 3, 2023

RE; Todd Tilley
Dear Judge McFadden:

| write on behalf of my brother Todd Tilley. We grew up on Paris Hill in South Paris,
Maine. Paris Hill is where Hannibal Hamlin was born. He was the first vice president to
President Lincoln.

It’s a neat community, small and close knit. Families knew families. You jumped on your
bike in the morning,-and came home in the evening, when your dad came home for dinner.
That was what we did back then.

Oxford Hills, where we went to high school, was also very close knit. We played little
league together, high school football, baseball and basketball. We were only a year apart in
age, real “Irish twins”. We were very close.

Todd was my older brother, whom I looked up to and competed against. We played one
on one basketball constantly. We never fought, but we took it out on each other during the
games. We played hard. .

Todd plays hard in life. He’s a hard worker..We used to rake blueberries together, from
morning to sunset. There was never a time that we relaxed. It was always go, go, go.

Our family was a close family. We had 6 children total, a half brother Billy, then
Tammy, Todd and | were full biological siblings, and then we had two foster kids who joined the
family when they were 3 years old. It was one big, happy family.

We did things together, went to the beaches, went camping, went to get ice cream at
the local dairy joint. We were close, because we were all pretty close in age.

After high school, Todd and | went to separate colleges. Todd was aligning himself with
religious schooling. His direction was more of a religious direction. | think he had theology as
his major.

We would connect during the holidays, but he was.going to school in upstate NY, and |
was going to school in Waterville, Maine. We lost touch, but we always caught up during
holidays.
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Todd was part of a church in NY, where he was the youth pastor, and where he met his
wife. They got pregnant, prior to marriage. {think the way they were treated by their
churches was the beginning of his unraveling. It was a scarlett letter A. They were ostrasized,
cast out of the church. It was a big blow.

They got married in Maine, moved back to NY and were roving forward with their lives,
Todd started to work for UPS. It seemed like a good fit. He became a manager, and knew every
route. He moved up quickly. But that’s when it all unraveled, He was arrested, and held at
Riker’s Island, He was charged with sodomy and attempted rape involving young girls. it was a
blow to all of us.

The day before he was supposed to go to trial, he decided to plead guilty. Though | was
shocked that Todd was capable of his crimes, we all make mistakes, and he made some grave
mistakes. But we stood by him.

His wife stood by him while he was in prison. He participated in Bible studies there. He
had two additional children while in prison, through conjugal visits. Again,. we all stood by him,
including his wife, whom | would meet at the prison-during visits. | visited him throughout his
prison sentence and continued to support him.

Just before his release from prison, his wife decided to divorce him. This was another
blow. But he handied it in stride. He wanted to stay in the city, so he could be near his kids.
But he didn’t get enough time with his kids. He was on parole, and his movements were limited.

Since his release from prison and parole, he has connected with his children and their
families. He was in NY until 2015 because he was committed to his family there. He. came back
to Maine because-our mother had died and our father was sick. He wanted to help as best he
could and to make up for lost time with dad.

Being a convicted sex offender was again a scarlett letter. It’s a tatoo that you cannot
get rid of. Todd knows he will néver be looked at the same way, even though he paid:his dues
to society. | don’t think he lets it define him, and neither do we. But it’s not easy.

He tries to be a good person. We were brought up very conservative, religious and we
still are. We believe in conservative policies. We are both Republicans. But we are not angry
or violent protesters..

Getting a text from Todd with a picture from Washington DC was a surprise. | was
surprised that he was there. It was not a small trip, and he made it alone. | think he visited his
family in NY on the way.
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A year later, when I got a phone call from the FBI about my brother, | never thought it
was about my brother Todd until they showed me the pictures. It never dawned on me that he
had been part of the Capitol riot, in the restricted area,

They showed me pictures of him inside the Capitol. | told them “if it’s not my brother,
it’s a body double.” They told me they wanted to contact him. Eight months later, | got
another phone call from them. They had still not reached out to him.

In late 2021, my dad passed away. In Jan 2022, Todd had a stroke. We still hadn’t- had a
conversation about Jan 6. The FBI said they would talk to the US attorney about whether it was
necessary to bring Todd in. They were very kind, and | appreciated it. All of the people we dealt
with were very professional and very kind.

Todd is very good at chess. If only he lived his life like he plays chess, thinking 3 moves
ahead, he would be better off, Instead, he leads with his heart, not his head.

| was struck by one of the photos of him on Jan 6,-helping someone up over the railing.
Because that’s who he is. He’s always looking to help others. Even Gail, his friend, he’s always
there for her even though they’re not together as a couple.

The stroke has affected his competence. He has aphasia, almost like a stutter, an
outwardly embarrassing thing to deal with. But he does it well. He is still living his life and
helping others. But it has slowed him down.

| heard a movie quote, which always gets me choked up: “We are all ultimately
imperfect. We all make mistakes, some terrible ones, but we can try to make things right and
that is what matters most... trying.” That sums up my brother.

Thank you for your kind consideration.

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